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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                               WAYCROSS DIVISION

 COALITION FOR GOOD GOVERNANCE,
 and DONNA CURLING,

                Plaintiffs,                                 CASE NO.: 5:23-mc-1

         v.

 COFFEE COUNTY BOARD OF
 ELECTIONS & REGISTRATION,

                Defendant.

                                            ORDER

        Plaintiffs filed a motion to compel on October 24, 2023. Doc. 1. I stayed the response

deadline to allow time for additional conferral. See Doc. 22. The parties recently informed the

Court they have reached an impasse on two issues: (1) Plaintiffs’ request for declarations from

three individuals about their knowledge of a certain silver laptop; and (2) Plaintiffs’ request

Defendant have third parties (including a law firm, Hall Booth Smith, and an information

technology contractor, Charles Dial) search for documents responsive to Plaintiffs’ subpoena.

Defendant has relayed the declaration requests but opposes taking further action on these issues.

        These issues require more briefing. Defendant shall file a response brief on these two

issues on or before December 6, 2023. Plaintiffs shall file a reply on or before December 13,

2023.

        SO ORDERED, this 28th day of November, 2023.



                                      ____________________________________
                                      BENJAMIN W. CHEESBRO
                                      UNITED STATES MAGISTRATE JUDGE
                                      SOUTHERN DISTRICT OF GEORGIA
